USCA4 Appeal: 07-4115    Doc: 172     Filed: 10/13/2009   Pg: 1 of 1


                                                          Filed: October 13, 2009


                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT
                             1100 East Main Street, Suite 501
                              Richmond, Virginia 23219-3517
                                   www.ca4.uscourts.gov

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                                   DOCUMENT TRANSMITTAL
                               ___________________________

                        No. 07-4115, US v. LaVon Dobie
                                     8:04-cr-00235-RWT

        TO: Lavon Dobie

        Receipt is acknowledged of the documents recently transmitted to
        the Court. We have forwarded these documents to your attorney,
        who will act in your behalf. All future correspondence,
        including motions, should be sent to your attorney.

        Enclosed pursuant to your request is a copy of the docket in
        this appeal.

        Sharon A. Wiley
        Deputy Clerk
        804-916-2704
